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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )          CRIMINAL ACTION NO.
        v.                            )            2:15cr199-MHT
                                      )                 (WO)
ELDRICK DEON McNEAL                   )

                            OPINION AND ORDER

    This       long-standing        criminal      case    is   before     the

court    on    defendant     Eldrick      Deon    McNeal’s      motion    for

release and dismissal.

    McNeal         was   indicted    in    2015    for    one    count     of

possessing a firearm as a convicted felon, in violation

of 18 U.S.C. § 922(g)(1), and has a lengthy history of

competency-related proceedings in this court.                     With his

motion,       he   claims    that    he   should     be   released       from

custody and the criminal charge against him dismissed

because the length of his confinement at a Bureau of

Prisons (BOP) mental-health treatment facility exceeds

that allowed by statute and is in violation of his due

process right.           For the reasons that follow, his motion

will be denied.
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                                      I.

       Since    his     indictment    in     2015,    McNeal     has       been

repeatedly       committed     to    the    custody   of   the       BOP    for

forensic       evaluations      of    his    mental     competency          and

restorability.          For ease of understanding, the court

has set forth this commitment history in chronological

order and has divided that chronology into three rounds

of      competency        determinations          and      efforts           at

restorations.



      First Competency-to-Stand-Trial-Evaluation Round

       November 30, 2015: The court ordered that McNeal,

who was incarcerated in a local jail in Montgomery,

Alabama pending trial, be committed and hospitalized

for a mental-competency-to-stand-trial evaluation at an

appropriate       BOP    mental-health       facility.         See    United

States v. McNeal, 2:15cr199-MHT, 2015 WL 7721211 (M.D.

Ala. Nov. 30, 2015) (Thompson, J.).




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       January 28, 2016: The BOP medical center in Butner,

North    Carolina,         where    the      BOP     hospitalized           McNeal,

issued    a    forensic       report     concluding         that      McNeal       was

likely    mentally         incompetent        to    stand       trial.      See    BOP

Report (doc. no. 63).

       February      22,    2016:      The    court    held       a    competency

hearing by videoconference based on the January 2016

forensic report from the Butner facility.

       February      26,    2016:      The     court    entered            an    order

finding that McNeal is not mentally competent to stand

trial.    See United States v. McNeal, No. 2:15cr199-MHT,

2016 WL 756570 (M.D. Ala. Feb. 26, 2016) (Thompson,

J.).          The     court      also        ordered        a     ‘restoration’

determination,         that        is,       that     McNeal          be    further

hospitalized at the Butner facility so that the Butner

personnel could attempt to restore him to competency

and    could    determine        whether      there    was       a    substantial

probability         that    in   the     foreseeable            future      he    will

attain the capacity to permit his trial to proceed.

See id.




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      March 20, 2017:          The Butner medical facility issued

a   forensic        report    concluding         that    McNeal     had    been

restored to competency.             See BOP Report (doc. no. 87).

McNeal was then returned to a local Montgomery jail for

the court to hold a restoration hearing, and, if the

court     found      McNeal     restored,         to    proceed    with     the

criminal process.             See United States v. McNeal, No.

2:15cr199-MHT, 2017 WL 1955329 (M.D. Ala. May 11, 2017)

(Thompson, J.).



      Second Competency-to-Stand-Trial-Evaluation Round

      June     2,    2017:    Despite       the    March    2017     forensic

report from the Butner facility concluding that McNeal

had    been    restored,      the   court        found   that     McNeal    was

again mentally incompetent to stand trial.                        See United

States v. McNeal, No. 2:15cr199-MHT, 2017 WL 2399578

(M.D. Ala. June 2, 2017) (Thompson, J.).                        While in the

custody       of    local     jails,       and    before    a     restoration

hearing could be held, McNeal had, according to a local

psychologist he had retained, decompensated.                         See id.




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The court ordered that McNeal be recommitted to the

Butner         facility            “to        allow          for       further

competency-restoration efforts, specifically, to allow

for a long-term psychiatric stabilization and further

attendance        at     competency          restoration           classes     to

reinforce past learning.”                Id. at *1.         The court found

“a     substantial       probability         that     he    [would]     attain

capacity within the additional period of time based on

his demonstrated progress and psychiatric stabilization

during his previous commitment at ... Butner.”                                Id.

Both     government      and   defense        counsel       agreed    to     this

course of action.         See id.

       December     6,    2017:      The      Butner       facility     issued

another      forensic     report     that      McNeal       had    again     been

restored and was competent to stand trial.                             See BOP

Report (doc. no. 112).

       December 22, 2017: Because McNeal had decompensated

while in a local Montgomery jail, the court entered an

order that McNeal was not to be returned from the BOP

Butner     facility      to    a    local     jail,        but    rather     that




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“[g]overnment counsel [was] to work with ... counsel

for defendant McNeal, as well as with the clerk of the

court,      to    arrange    for    a       competency        hearing,     with

defendant McNeal and his new counsel, as well as Butner

mental-health staff who will testify, to participate by

videoconferencing          from    the      Butner     facility.”          Order

(doc. no. 115).

       February 2, 2018:           The court held a restoration

hearing by videoconferencing.

       February     5,   2018:      The       court       entered    an   order

finding that McNeal has been restored to competency and

was    mentally     competent      to       stand    trial.        See    United

States     v.    McNeal,    No.    2:15cr199-MHT,           2018    WL    706488

(M.D. Ala. Feb. 5, 2018) (Thompson, J.).                            The court

also      ordered    that    he    be       returned      from     the    Butner

facility to a local Montgomery jail, but that certain

precautions be taken to help “ensure that [he] receives

his medication during and after transit from ... Butner

to    a   local     facility,      and       that    he    does     not    again

decompensate prior to trial.”                 Id. at *2.




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      Third Competency-to-Stand-Trial-Evaluation Round

      June 14, 2018:          At the urging of government and

defense counsel prior to trial, the court held another

competency hearing.           See United States v. McNeal, No.

2:15cr199-MHT,        2018    WL     3023092   (M.D.     Ala.     June    18,

2018) (Thompson, J.).

      June 18, 2018: The court entered an order stating:

“Based on the evidence in the record and the testimony

presented    at   a    competency         hearing    held   on    June    14,

2018, the court concludes, by a preponderance of the

evidence--and     with        some     admitted      exasperation--that

McNeal is once again not mentally competent.”                        United

States v. McNeal, No. 2:15cr199-MHT, 2018 WL 3023092,

at *1 (M.D. Ala. June 18, 2018) (Thompson, J.).                           The

court found, based on a report submitted by a local

psychologist retained by defense counsel, that McNeal

had again decompensated while in local jail custody.

See    id.   at   2.    The     court      ordered     that      McNeal    be

recommitted and hospitalized again at a BOP facility

for   “competency      restoration         treatment.”        Id.   at    *3.




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The court further explained: “[I]n view of the fact

that McNeal has apparently now twice decompensated in

local custody, and that this is the third attempt at

restoration,        the    court   is       concerned    not    only     as    to

whether   he    can       be   restored,      but     whether    he     can    be

restored and stabilized for a sufficient period of time

for the court to conduct a trial and, if warranted, to

sentence him.”        Id.

    July 17, 2018: During the hearing on this day, the

government      suggested          that,        because        McNeal     kept

decompensating while in a local facility, arrangements

should be made for McNeal to stay at the BOP facility,

not only during and after competency and restoration

hearings, but also “until just before and immediately

after any court proceeding,” including trial and, if

warranted, sentencing.             Order (doc. no. 202) (emphasis

added).        Defense         counsel       agreed     that    McNeal        was

receiving better care at the BOP facility than he was

receiving      at    the       local    jail,    and     that    government

counsel’s suggestion was “probably ... the best way” to




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proceed.       July 17, 2018 Hr’g Tr. R.D. at 5.               The court

memorialized this agreement in an order.                       See Order

(doc. no. 202).

       January 11, 2019:       The BOP issued a forensic report

that     McNeal     had   regained        competency    and    thus    was

restored.      See BOP Report (doc. no. 207).

       March 26, 2019:         Defense counsel filed a report

stating that McNeal was still incompetent.                      See Def.

Status    Report     (doc.    no.    235).       The    BOP     issued   a

supplemental report stating that, because McNeal was

“[a]t    the    present     time    ...    experiencing       significant

symptoms of psychosis,” he was again incompetent.                      See

BOP Report (doc. no. 241) at 11.

       March 29, 2019: The court held another restoration

hearing.

       April   9,   2019:    The    court    found    that    McNeal   was

again incompetent to stand trial.                    The court ordered

that McNeal be recommitted “to the custody of the BOP

for competency restoration treatment.”                   United States

v. McNeal, No. 2:15cr199-MHT, 2019 WL 1532228, at *3




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(M.D. Ala. Apr. 9, 2019) (Thompson, J.).                            The court

cautioned again that, “in view of the fact that McNeal

has previously decompensated in local custody, and that

this is the fourth attempt at restoration, the court is

concerned not only as to whether he can be restored,

but     also     as    to    whether        he   can      be    restored      and

stabilized       for    a    sufficient      period       of    time    for   the

court to conduct a trial and, if warranted, to sentence

him.”    Id.

       October    22,       2019:   The     Butner     facility        issued   a

forensic report stating that it is “unlikely [McNeal]

will    be     restored       to    competency       in    the     foreseeable

future despite our extensive efforts.”                          United States

v. McNeal, No. 2:15cr199-MHT, 2019 WL 5718168, at *1

(M.D. Ala. Nov. 5, 2019) (Thompson, J.).

       October 29, 2019: The court held an on-the-record

hearing with government counsel and defense counsel “to

discuss what the next steps in this litigation should

be.”     McNeal, 2019 WL 5718168, at *1.                       Counsel “agreed

that, based on the October 22 BOP report, the next step




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would be for the court to hold an evidentiary hearing

on    the    issue        of    McNeal’s       ‘restorability,’       that    is,

‘whether there is a substantial probability that in the

foreseeable          future      he    will     attain    the    capacity     to

permit       the     proceedings          go    forward.’       18   U.S.C.     §

4241(d)(1).”          Id.        They “further agreed that, should

the court find McNeal’s ‘mental condition has not so

improved as to permit the proceedings to go forward,’

18 U.S.C. § 4241(d), the next step would be for the

court to order the BOP to conduct a ‘dangerousness’

evaluation, that is, an evaluation of whether McNeal

‘is presently suffering from a mental disease or defect

as     a    result    of       which   his      release   would      create     a

substantial risk of bodily injury to another person or

serious       damage       to    property       of   another.’       18   U.S.C.

§ 4246(a).”          Id.       Finally, they agreed that, “to avoid

the further delay and inconvenience to the parties of

holding two hearings, one on the issue of restorability

and     another      on    the    issue    dangerousness,        a   procedure

that would require counsel for McNeal to travel from




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Alabama to North Carolina two times, ... the court will

instead set a hearing on both issues after the BOP has

completed        an    evaluation           of     McNeal’s    dangerousness

pursuant to § 4246.”               Id.

       November 5, 2019: Based on the October 29 agreement

of    both     defense      counsel       and     government    counsel,     the

court entered an order, first, delaying the hearing on

restorability            and,        second,           continuing    McNeal’s

hospitalization             so     that     the    BOP     evaluators   could

determine his dangerousness, with the court to hold a

joint hearing on both restorability and dangerousness

afterward and at the same time, and with McNeal to

remain at the BOP facility in the meantime, that is,

“even      after      the        completion       of    the   ‘dangerousness’

evaluation.”          McNeal, 2019 WL 5718168, at *2.

       March     17,        2020:     The        BOP    facility    issued     a

‘dangerousness’          report          that     “McNeal’s     unconditional

release from custody and to the community would pose a

substantial risk of bodily injury to another person or




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serious damage to the property of another.”                    BOP Report

(doc. no. 266) at 16.

      March 19, 2020:        After holding a hearing, the court

entered an order on the same day directing government

counsel      to    arrange    for       both   a   restorability       and

dangerousness hearing as agreed upon by the parties.

See Order (doc. no. 269).

      However, because of the novel coronavirus pandemic

and   the     challenges      it    presented        (including      that,

because      the   Butner    BOP        facility   has   had     positive

COVID-19 cases, the facility has restricted visitation,

even by defense counsel), the parties and the court

have been unable to schedule any hearing as of the date

of this order and opinion, but are still trying.                         In

addition,     both    government         and   defense   counsel      have

agreed that, contrary to their earlier understanding,

this court would conduct only a ‘restorability’ hearing

and   that    a    United    States       District    Court     in   North

Carolina,     where    McNeal      is    presently    confined,      would

conduct any ‘dangerousness’ hearing.




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                                       II.

      With the above background in mind, the court turns

to McNeal’s motion for release and dismissal.                          With his

motion,     he    seeks       his    release      in    full    from    federal

custody     and    the     dismissal         of    the       criminal    charge

against him.



                                       A.

                                       1.

      First, McNeal relies on the federal statute that

was   the   basis       for    the    above-described           court-ordered

commitments       and     hospitalizations             for    BOP   competency

determinations and later restoration efforts: 18 U.S.C.

§ 4241(d).       Section 4241(d) provides in full:

      “If, after the hearing, the court finds by a
      preponderance   of   the  evidence   that   the
      defendant is presently suffering from a mental
      disease or defect rendering him mentally
      incompetent to the extent that he is unable to
      understand the nature and consequences of the
      proceedings against him or to assist properly
      in his defense, the court shall commit the
      defendant to the custody of the Attorney
      General. The Attorney General shall hospitalize



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    the defendant           for    treatment        in    a     suitable
    facility--

           (1) for such a reasonable period of time,
           not to exceed four months, as is necessary
           to   determine    whether   there   is   a
           substantial   probability  that   in   the
           foreseeable future he will attain the
           capacity to permit the proceedings to go
           forward; and

           (2) for an additional reasonable period of
           time until--

                (A)   his  mental   condition  is   so
                improved that trial may proceed, if
                the court finds that there is a
                substantial probability that within
                such additional period of time he will
                attain the capacity to permit the
                proceedings to go forward; or

                (B) the pending charges against                        him
                are disposed of according to law;

                whichever is earlier.

    If, at the end of the time period specified, it
    is determined that the defendant's mental
    condition has not so improved as to permit the
    proceedings to go forward, the defendant is
    subject to the provisions of sections 4246 and
    4248.”

Sections    4246     and      4248        of   Title       18    deal        with

“Hospitalization       of    a     person      due       for    release      but

suffering    from   mental        disease      or   defect”      and    “Civil




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commitment          of      a     sexually             dangerous           person,”

respectively.

       McNeal reads this statute to provide that, first,

an     initial      restoration       determination              must      be    done

within four months, see § 4241(d)(1), and, second, that

this      time     for     determination          may       be      extended      “an

additional         reasonable     period        of     time”        only   “if    the

court     finds     that    there     is    a    substantial          probability

that     within     such    additional          period      of      time   he    will

attain the capacity to permit the proceedings to go

forward.”        § 4241(d)(2)(A).

       Focusing      on    the    third        round     of      commitment       and

restoration proceedings in 2019, McNeal contends that,

because      the    court’s      April     9    commitment           expired     four

months       later,        sometime        in     June         or     July,       see

§ 4241(d)(1), and because there was no court finding

(“that there is a substantial probability that within

such     additional        period   of      time       he     will    attain     the

capacity”) authorizing an additional reasonable period

of time pursuant to § 4241(d)(2)(a), he is now due to




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be     released       from   criminal      custody    and    the    charge

against him dismissed.

       The    court    agrees     with    McNeal’s     reading     of   the

statute:        First, an initial restoration determination

must     be   done     within    four     months,    see    18   U.S.C.     §

4241(d)(1); and, second, this determination period may

be extended “an additional reasonable period of time”

only “if the court finds that there is a substantial

probability that within such additional period of time

he will attain the capacity to permit the proceedings

to go forward.”          § 4241(d)(2)(A).        See United States v.

Baker, 807 F.2d 1315, 1320 (6th Cir. 1986) (“We believe

that this provision requires that a determination as to

the individual's mental condition be made within four

months, and that the individual cannot be held pursuant

to section 4241 in excess of four months unless the

court finds that the individual is likely to attain

competency within a reasonable time.”).

       To be sure, the statute further provides, as an

“or” option, “for an additional reasonable period of




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time until--...           the   pending charges against            him    are

disposed         of      according     to     law.”           18    U.S.C.

§ 4241(d)(2)(B) (emphasis added).                  But the court does

not read this subpart (B) provision as allowing for a

blanket additional period of time until the disposition

of    the    criminal      proceedings,      for   this    understanding

would not only obviate the need for the court findings

in     subpart     (A)    of    § 4241(d)(2),      it   would      also     be

open-ended, allowing for any extension to the end of

the criminal proceeding as long as the court believed

the extension was “reasonable.”                 In other words, this

understanding of subpart (B) would leave § 4241(d)(2)

extensions to courts’ whims of what they consider to be

“reasonable.”            § 4241(d)(2).       Surely, this could not

have been the intent of the intent of § 4241(d).                          For

why then have the finding requirement in subpart (A) of

§     4241(d)(2)?        And    why   even     have     the    four-month

limitation in § 4241(d)(1) at all?

       Instead, the subpart (B) provision, in conjunction

with the “whichever is earlier” provision, means that



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if     the   disposition       of    the    criminal        charges      occurs

before the end of the additional extension authorized

by    subpart      (A)   of   § 4241(d)(2),         the     hospitalization

must end.         In other words, subpart (B) provides for an

overall       limitation      that    the    subpart        (A)     additional

period       of   hospitalization          cannot    extend       beyond     the

disposition of the criminal charges.                        Subpart (B) of

§ 4241(d)(2) operates on the assumption that there has

been compliance with subpart (A), not in the absence of

compliance        with   subpart     (A).         Subpart     (B)    does    not

obviate the need for compliance with subpart (A).                            The

“or” option presented by subpart (B) applies only when

there      has    been   compliance        with     subpart       (A).      This

reading      comports     with      the    longstanding       principle       of

statutory         construction       that     a     statute        should     be

interpreted “to effectuate all its provisions, so that

no part is rendered superfluous.”                    Hibbs v. Winn, 542

U.S. 88, 89 (2004).


       Nevertheless, the court must deny McNeal’s request

for relief for essentially two reasons.                     First, McNeal,



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through     his    attorney,         has       repeatedly      agreed       to    his

remaining at the Butner facility not only while the

competency and restoration proceedings were occurring

but also, most recently, pending the restoration and

dangerousness       determinations,              and   even,     if     possible,

during      any    trial       and    sentencing.               In    short,       he

repeatedly         and     broadly          waived       the         § 4241(d)(1)

four-month        requirement        as     well    as    the    need       of    any

§ 4241(d)(2)(A)          additional            court     findings           for    an

extension.         And why he waived these requirements was

simple and understandable: as the background part of

this   opinion      reflects,         his       remaining      at     the    Butner

medical facility throughout the process was, for the

most   part,      for    his    benefit.           Most     importantly,           he

repeatedly decompensated whenever he was returned to a

local Montgomery jail.                See United States v. McNeal,

No. 2:15cr199-MHT, 2017 WL 2399578, at *1 (M.D. Ala.

June   2,    2017)       (Thompson,         J.)    (finding          that    McNeal

decompensated while in a local jail); United States v.

McNeal, No. 2:15cr199-MHT, 2018 WL 3023092, at *1 (M.D.




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Ala.      June     18,        2018)        (Thompson,       J.)     (same).         His

remaining        at      the        Butner        facility        was     also     more

convenient for him and his attorney, for it obviated

their      having        to        repeatedly       travel        back    and     forth

between       Butner          and      Montgomery         and      their        thereby

prolonging the process with all the travel.                               See United

States v. McNeal, No. 2:15cr199-MHT, 2019 WL 571168, at

*1    (M.D.      Ala.     Nov.        5,    2019)     (Thompson,         J.)     (court

delayed hearing on restorability and continued McNeal’s

hospitalization               so     that     the     BOP    evaluators           could

determine his dangerousness, with the court to hold a

joint hearing on both restorability and dangerousness

afterward and at the same time, and with McNeal to

remain at the BOP facility in the meantime, that is,

“even      after      the          completion       of    the      ‘dangerousness’

evaluation”).             Finally,           McNeal      received        much    better

mental-health care at Butner than he did in Montgomery.

See Order (doc. no. 202) (defense counsel agreed with

government’s          suggestion             that,       because         McNeal     was

receiving better care at the BOP facility                                and because




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McNeal kept decompensating while in a local facility,

arrangement should be made so that McNeal could stay at

the BOP facility, not only during and after competency

and restoration hearings, but also “until just before

and immediately after any court proceeding”).



                                      2.

       Second,    the     court      must     deny    relief       to    McNeal

because     the       requested       relief         would       not    be     an

appropriate remedy even in the absence of the broad and

continuous       waiver   described         above.         For   purposes      of

McNeal’s     motion,       the      key     word      in     §    4241(d)      is

“hospitalize.”            The       statute     provides         that,       “The

Attorney General shall hospitalize the defendant for

treatment        in   a    suitable         facility.”            18     U.S.C.

§ 4241(d).        The statute authorizes hospitalization and

says    nothing       about     a    defendant’s       criminal         custody

status and the criminal charges against him.                             If the

statute’s    time       requirements        are      violated      then,      the

appropriate remedy would be limited to terminating a




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defendant’s hospitalization at a BOP medical facility,

that    is,   to    discharging      the   defendant      from      the   BOP

hospital.       Whether       the   defendant   should        be    released

from criminal custody and charges dismissed against him

is a totally separate and unrelated matter.

       So, if § 4241(d) had been violated here, the court

would    be   limited    to    requiring     the    BOP   to       discharge

McNeal from the Butner hospital facility and return him

to a Montgomery jail for his restoration hearing, and

the court does not understand McNeal’s attorney to be

asking for this relief, which, for the reasons given

above at length, would be most detrimental to McNeal.



                                     B.

       McNeal also asserts that, because there has been a

failure to comply with § 4241(d), he is being held at

the    Butner      facility    in   violation      of   his    Fourteenth

Amendment right to due process.                 As explained above,

there has not been a failure to comply with § 4241(d).

Moreover, compliance with § 4241(d) aside, the court is




                                     23
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unaware of any ‘procedural’ or ‘substantive’ failures

in this litigation that violated McNeal’s right to due

process.

                                  ***

    Accordingly, it is ORDERED that defendant Eldrick

Deon McNeal’s motion for release and dismissal (doc.

no. 275) is denied.

    DONE, this the 5th day of May, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




                                  24
